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UN|TED STATES DlSTRlCT COURT
NORTHERN DlSTRlCT OF lLLlNOlS
219 SOUTH DEARBORN STREET
CH|CAGO, lLL|NOlS 60604

 

NOT|F|CAT|ON OF CHANGE OF ATTORNEY ADDRESS OR NAME

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Name Jena M. Valdctero

Fil~m Bryan Cave Leighton Paisner LLP

Street Address 161 N Clark St., Suite 4300
Citys'Stater“Zip Code Chicago, IL 6060]

Phone Number 312-602-5000

Email address jcna.valdctero@bclplaw.com
ARDC (Illinois State Bar members, only) 6290948

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Case Number Case Title Assigned Judge

 

See attachment

 

 

 

 

 

 

 

 

 

fsf Jena Valdetero May 25, 2018

 

 

Signature of Attomey Date

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Attachment
Case Number Case Title Assigned Judge
15-cv-10109 Thakl<ar v. chen John J . Tharpe, Jr.
lS-cv-068?l Griffin v, U.S. Bank National Jorge L. Alonso
Association
16-cv-050?'8 Kamperman v. Deutsche Bank John Robert Blakey
17-cv-01398 Mubasher v. Autotrader.com John Z. Lee
l?-cv-?`So? Ponce v, chen Charles R. Norgle, Sr.
16-cv-10262 Vivek Chopra v. Anil Manichai Sharon Johnson Coleman
Nail
l?-cv-??l¢l Davis v. Bank of America Charles P, Kocoras

 

 

 

 

